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                         UNITED STATES DISTRICT COURT
                     FOR THE EASTERN DISTRICT OF MICHIGAN
                              SOUTHERN DIVISION


UNITED STATES OF AMERICA,

              Plaintiff,

              v.                                  Case No. 09-CR-20280

FATIMA HOUSSEIN TOUFAILI,

           Defendant.
_________________________/

             ORDER STRIKING AFFIDAVIT OF ALI HUSSEIN DARWICH

       On March 29, 2010, the Clerk of the Court docketed an affidavit filed by Ali

Hussein Darwich. In his affidavit, Mr. Darwich makes various statements and

accusations, none of which have been asserted by Defendant Fatima Toufaili herself,

and affirmatively requests to be subpoenaed as a witness at Defendant’s trial. Darwich

purports to be acting in the interest of Defendant, but he is not a party in this criminal

action, nor is he an attorney representing Defendant. As indicated in the court’s March

5, 2010 order, Defendant is represented by Attorney Joan Morgan and must proceed

through that attorney.

       The federal and local rules provide mechanisms by which parties may file seek

relief from the court. See Fed. R. Crim. P. 47 (setting forth the procedures by which a

“party” may file motions); Fed. R. Crim. P. 49 (addressing the service and filing of

papers by a “party”). Darwich is not a party in this action and has not identified any

basis for standing to file a pleading on behalf of or in support of Defendant. Further, the

federal and local rules set forth the procedure by which parties can file motions seeking
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appropriate relief. See Fed. R. Crim. P. 49 (stating a paper must be filed as provided in

civil actions); Fed. R. Civ. P. 7 (defining what types of pleadings are allowed, and that

any request for court order must be made by motion); E.D. Mich. LR 7.1 (setting forth

the motion requirements). Even if Darwich had standing to file a motion, his affidavit is

not in compliance with these rules. Further, while the rules provide a mechanism for a

nonparty to challenge an issued subpoena, they do not allow an individual to file a

motion requesting to testify. See Fed. R. Crim. P. 17. Deciding who to subpoena is a

decision which rests firmly in the discretion of defense counsel. United States v.

Nersesian, 824 F.2d 1294, 1321 (2d Cir. 1987) (A decision “whether to call any

witnesses on behalf of the defendant, and if so which witnesses to call, is a tactical

decision of the sort engaged in by defense attorneys in almost every trial.”).

           Inasmuch as strangers to a litigation have no standing to file random affidavits

(which themselves are not in compliance with the relevant rules) on someone else’s

docket,

           IT IS ORDERED that the March 29, 2010 affidavit filed by Ali Hussein Darwich

[Dkt. # 27] is STRICKEN from the docket of this court.

                                                                       S/Robert H. Cleland
                                                                      ROBERT H. CLELAND
                                                                      UNITED STATES DISTRICT JUDGE
Dated: April 9, 2010

I hereby certify that a copy of the foregoing document was mailed to counsel of record
on this date, April 9, 2010, by electronic and/or ordinary mail.

                                                                      s/Lisa Wagner
                                                                      LISA G. WAGNER, Case Manager to
                                                                      Judge Robert H. Cleland



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